                IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

 SYLVESTER ALLEN, JR., et al.,

                       Plaintiffs,
 v.

 CITY OF GRAHAM, et al.,                         1:20-cv-0997-CCE-LPA

                       Defendants.


 JUSTICE   FOR             THE        NEXT
 GENERATION, et al.,

                       Plaintiffs,

 v.                                              1:20-cv-00998-CCE-LPA

 TERRY JOHNSON, individually and in his
 official capacity as Alamance County Sheriff,
 et al.,

                       Defendants.


   ALLEN PLAINTIFFS’ MEMORANDUM OF LAW IN OPPOSITION TO
DEFENDANTS ALAMANCE COUNTY AND TERRY S. JOHNSON’S MOTION
         FOR JUDGMENT ON THE PLEADINGS (DKT. NO. 51)




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                            PRELIMINARY STATEMENT

       The motion for judgment on the pleadings of Defendants Alamance County (the

“County”) and Sheriff Terry S. Johnson (together, “Defendants”) (“Defs. Mot.”) is a case

study in inadequate presentation and obfuscation: Defendants assert no fewer than eleven

underdeveloped arguments—some as short as three sentences long—that lack basis in law

or fact and serve only to obscure the issues before the Court. Defendants largely ignore

the well-pleaded allegations in Plaintiffs’ First Amended Complaint (“FAC” or “Amended

Complaint”) (Dkt. No. 24) as well as the very case law they cite. For these reasons alone,

much of Defendants’ Motion should be summarily denied. See Hayes v. Self-Help Credit

Union, No. 13-cv-880, 2014 WL 4198412, at *2 (M.D.N.C. Aug. 22, 2014) (ruling

argument waived where party “cited no legal authority of any kind”).

       Focusing on the FAC’s allegations, as it must at this stage, this Court should find

that Plaintiffs have adequately pleaded their claims. The FAC alleges that Alamance

County Sheriff’s Office (“ACSO”) deputies unleashed pepper spray on multiple occasions

at a peaceful march to the polls at the direction and with the express approval of Sheriff

Johnson. And Sheriff Johnson, in turn, is authorized to make law enforcement policy on

behalf of the County. Those allegations state plausible claims for violations of the federal

Constitution, federal voting rights statutes, the North Carolina Constitution, and common

law. Defendants’ Motion should be denied.




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                         RELEVANT FACTUAL BACKGROUND

       Plaintiffs allege that members of ACSO, with the approval of Sheriff Johnson, FAC

¶¶ 62–63, 66–67, 70, 73, deployed pepper spray on at least three occasions at an October

31, 2020 march, including on Alamance County’s courthouse property, id. ¶¶ 54-56. The

march was (i) titled the “I Am Change, Legacy March to the Polls” (the “March”), id. ¶ 41,

n.4, (ii) organized to encourage “people to go to the polls and vote for change”; “serve as

a moment of political power for Black communities”; and protest police violence, id. ¶¶ 41,

44–45, (iii) held on the final day of voter registration and early voting in North Carolina,

id. ¶¶ 86–87, and (iv) intended to end one block from a polling place, so that attendees

could thereafter register to vote and/or vote, id. ¶¶ 40, 42–43, 74. In addition to their

physical and emotional injuries from Defendants’ conduct, three of the individual Plaintiffs

and at least one member of organizational Plaintiff Future Alamance “all had planned to

vote on October 31, 2020, following the March” but “none were able to do so as a result

of the violence that Defendants directed at them and others.” Id. ¶ 84. Also as a result of

Defendants’ conduct, multiple Plaintiffs “were fearful of attempting to vote on Election

Day,” three days after the March. Id. ¶¶ 110, 120, 145. And because one Plaintiff was

prevented from registering to vote after the March, on the last opportunity to register,

Defendants’ actions “denied [him] the right to vote in the 2020 general election altogether.”

Id. ¶¶ 84, 88, 122–23.




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                                       ARGUMENT

       “A motion for judgment on the pleadings under Rule 12(c) of the Federal Rules of

Civil Procedure is analyzed according to the same standard as a Rule 12(b)(6) motion.”

Short v. Stokes, No. 18-cv-741, 2021 WL 620933, at *5 (M.D.N.C. Feb. 17, 2021). Thus,

the Court must accept Plaintiffs’ allegations as true, and draw all reasonable inferences in

their favor. Bone v. Univ. of N. Carolina Health Care Sys., No. 18-cv-994, 2021 WL

395547, at *6 (M.D.N.C. Feb. 4, 2021).

       Applying these standards, Defendants’ Motion must be denied. Plaintiff Future

Alamance has both organizational and associational standing, notwithstanding Defendants’

reliance on an inapplicable state statute and inaccurate readings of other law. Plaintiffs’

state law claims may also proceed: no alternative remedy forecloses Plaintiffs’ state

constitution claims, and no immunity shields ACSO’s conduct at the March. Finally,

Plaintiffs’ federal claims are well-pleaded, and their federal constitutional claims are

properly brought against the County.

I.     FUTURE ALAMANCE HAS STANDING.

       In federal court, Future Alamance need demonstrate only one form of standing—

associational or organizational—to raise its claims. See Wilson v. Thomas, 43 F. Supp. 3d

628, 632 (E.D.N.C. 2014). It has adequately alleged both.

       A.     N.C. Gen. Stat. § 1-69.1(a)(3) Is Irrelevant.

       As an initial matter, Defendants mistakenly contend that Future Alamance lacks

standing absent allegations that it filed an “assumed business name certification” under



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N.C. Gen. Stat. § 1-69.1(a)(3). Defs. Mot. at 5. But N.C. Gen. Stat. § 1-69.1(a)(3) is a

state law “pleading requirement[],” N. Iredell Neighbors for Rural Life v. Iredell Cty., 196

N.C. App. 68, 75 (2009), and therefore inapplicable to this federal action. Jackson v.

Mecklenburg Cty., No. 07-cv-218, 2008 WL 2982468, at *2 (W.D.N.C. July 30, 2008)

(“North Carolina ‘pleading requirements . . . are irrelevant in federal court even as to claims

arising under state law.’” (citation omitted)). Accordingly, N.C. Gen. Stat. § 1-69.1(a)(3)

has no bearing on Future Alamance’s standing in this case.

       B.     Future Alamance Has Organizational Standing.

       Organizations are subject to the same standing requirements as individuals:

(1) injury; (2) causation; and (3) redressability. Md. Highways Contractors Ass’n, Inc. v.

State of Md., 933 F.2d 1246, 1250 (4th Cir. 1991). Contrary to Defendants’ suggestion,

each element is satisfied here.

       The FAC alleges that Defendants impaired Future Alamance’s ability to carry out

its mission—a typical “injury in fact” to an organizational plaintiff. Havens Realty Corp.

v. Coleman, 455 U.S. 363, 379 (1982). As alleged, Future Alamance is a “community

organization . . . focused on creating an inclusive Alamance with equality for the entire

community.” FAC ¶ 4. The March to the Polls to promote police reform and voting rights

aligned with this mission, and Future Alamance dedicated resources to it by “organiz[ing]

. . . its members to participate in the March.” Id. ¶¶ 4, 111. Defendants used force against

Alamance community members—who had gathered in a show of unity in part due to the

efforts and resources of Future Alamance—causing the March to end early. See id. These



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actions directly interfered with Future Alamance’s efforts to carry out its mission of

“creating an inclusive Alamance” and promoting “equality for the entire community,” id.,

and plainly suffice to establish injury to Future Alamance. Havens, 455 U.S. at 379

(holding that “there can be no question that [an] organization has suffered injury in fact”

where defendants’ actions impaired the organization’s ability to provide its services.).

       Defendants’ argument that there is no “causal connection between the alleged

conduct and the alleged injury,” Defs. Mot. at 6, also fails. As alleged, Defendants’ use of

force caused the March to end early, among other harms, thereby frustrating Future

Alamance’s mission. See FAC ¶¶ 4, 111. Defendants’ allusion to unspecified “intervening

misconduct of March participants leading to their alleged inability to vote,” Defs. Mot. at

7, does not undermine this; “the causation element of standing does not require the

challenged action to be the sole or even immediate cause of the injury.” Sierra Club v.

United States Dep’t of the Interior, 899 F.3d 260, 284 (4th Cir. 2018).

       Defendants likewise offer no reason why Future Alamance’s injury would not be

redressed by a favorable decision. This Court is equipped to provide the declaratory and

monetary relief for past harms sought by this action. 1

       C.     Future Alamance Has Associational Standing.

       An organization may sue on behalf of its members if (1) “at least one of its identified

members would otherwise have standing to sue in their own right”; (2) “the interests at



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 Defendants mistakenly assert that Plaintiffs seek injunctive relief, but the FAC requests
only declaratory and monetary relief. Compare Defs.’ Mot. at 9 with FAC at 39.


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stake are germane to the organization’s purpose”; and (3) “neither the claim asserted nor

the relief requested requires the participation of individual members in the lawsuit.”

Outdoor Amusement Bus. Ass’n, Inc. v. Dep’t of Homeland Sec., 983 F.3d 671, 683 (4th

Cir. 2020).

       Future Alamance satisfies all three prongs. Defendants do not dispute that at least

one Future Alamance member would otherwise have standing. See Defs. Mot. at 8–9.

Further, “the interests at stake” in this case are plainly “germane to [Future Alamance’s]

purpose,” Outdoor Amusement, 983 F.3d at 683; as alleged, Future Alamance is a

“community organization” whose work “is focused on creating an inclusive Alamance with

equality for the entire community.” FAC ¶ 4. The interests of marchers in protesting police

violence and promoting racial justice and political participation are squarely within this

purpose, and are implicated by the instant case.

       Finally, that individual members of Future Alamance may need to participate in the

litigation does not undermine Future Alamance’s associational standing. Only a subset of

Future Alamance’s members attended the March, and only a sample of those attendees

would need to provide evidence. This is plainly permissible under federal standing rules.

Ass’n of Am. Physicians & Surgeons, Inc. v. Texas Med. Bd., 627 F.3d 547, 551 (5th Cir.

2010) (associational standing where organization could produce “a sampling of evidence

from its members”); accord, e.g., Am. Humanist Ass’n v. Maryland-Nat’l Capital Park &

Planning Comm’n, 874 F.3d 195, 204 (4th Cir. 2017), rev’d and remanded on other

grounds sub nom. Am. Legion v. Am. Humanist Ass’n, 139 S. Ct. 2067 (2019) (associational



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standing where case would require participation by at least some members).

II.    PLAINTIFFS STATE FEDERAL CONSTITUTIONAL CLAIMS AGAINST
       ALAMANCE COUNTY.

       Counties are liable under Section 1983 when someone with policymaking authority

approves or ratifies unconstitutional acts. Semple v. City of Moundsville, 195 F.3d 708,

712 (4th Cir. 2012).     The FAC sufficiently alleges that Sheriff Johnson is a final

policymaker for the County regarding law enforcement, such that his approval of the

pepper spraying at the March may be imputed to the County. FAC ¶¶ 13, 154.

       A final policymaker is someone “whose edicts or acts may fairly be said to represent

official policy of the county.” Wilcoxson v. Buncombe County, 129 F. Supp. 3d 308, 316

(W.D.N.C. 2014). A government official is a final policymaker if “no further action is

needed for [his decisions] to take effect.” Liverman v. City of Petersburg, 844 F.3d 400,

413 (4th Cir. 2003). Because this inquiry is fact-intensive, it is often inappropriate to

resolve without discovery. See Hunter v. Town of Mocksville, 897 F.3d 538, 556 (4th Cir.

2018); see also Estate of Bryant v. Baltimore Police Dep’t, No. 19-cv-384, 2020 WL

673571, at *36 (D. Md. Feb. 10, 2020). As set forth below, the FAC, read in concert with

North Carolina law, plausibly alleges that Sheriff Johnson is a policymaker with respect to

law enforcement for the County; at a minimum, he is a policymaker with respect to

regulation of County property, including the courthouse where pepper spraying occurred.

These allegations are more than sufficient.




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       A.     Sheriff Johnson is a Final Policymaker for the County with Respect to
              Law Enforcement Activities.

       Plaintiffs allege that Defendant Johnson “is responsible for the policy, practice,

implementation, and supervision, of all ACSO matters, including the . . . conduct of all

ACSO personnel,” and that he must “ensur[e] that ACSO personnel obey the laws of the

United States and the State of North Carolina, including by conducting thorough and

expeditious investigations into officer misconduct.” FAC ¶ 10. The County, in turn,

“through . . . Defendant Johnson, is responsible for the policy [and] practice . . . of all

ACSO matters.” 2 Id. ¶ 13.

       State law confirms the plausibility of Plaintiffs’ allegations. See Wilcoxson, 129 F.

Supp. 3d at 316 (explaining that in determining whether sheriff is policymaker, “the Court

turns to North Carolina law”). Under North Carolina law, only the county sheriff may set

law enforcement policy. See N.C. Gen. Stat. § 162-24 (“The sheriff may not delegate . . .

the final responsibility for discharging his official duties.”) (emphasis added). Sheriffs, in

turn, are part of the county structure under the State constitution. N.C. Const. Art. VII, § 1.

County attorneys have the power to impeach sheriffs. N.C. Gen. Stat. § 12816. Each

sheriff’s office is funded by tax revenue from its respective county. N.C. Gen. Stat.

§§ 153A-103, 153A-146, et seq. And sheriffs may establish county liability under other




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 Contrary to Defendants’ mischaracterization, see Defs. Mot. at 9, these allegations are
not alleging respondeat superior liability—which would only depend on the existence of
an employment relationship.


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statutes. See Boyd v. Robeson Cty., 169 N.C. App. 460, 468 (2005) (liability under State

Tort Claims Act).

       County sheriffs are thus final policymakers for the purpose of municipal liability

under Section 1983. See, e.g., Wilcoxson, 129 F. Supp. 3d at 317 (finding a North Carolina

sheriff is “a county’s chief law enforcement officer, and is the ultimate policymaker for the

county regarding matters of law enforcement”); Moran v. Polk Cty., No. 18-cv-300, 2019

WL 5297027, at *8 (W.D.N.C. Sept. 3, 2019), report and recommendation adopted, 2019

WL 4567548 (W.D.N.C. Sept. 20, 2019) (same).

       B.     At Minimum, Sheriff Johnson is a Final Decisionmaker with Respect to
              the Regulation and Use of County Property.

       ACSO’s conduct here—using pepper spray to regulate access to the County’s own

property—further supports the inference that the County may be liable for Sheriff

Johnson’s decisions. North Carolina law dictates that the “board of commissioners shall

supervise the maintenance, repair and use of county property.” N.C. Gen. Stat. § 153A-

169. Plaintiffs’ allegations are sufficient to reasonably infer that the County delegated this

authority to Sheriff Johnson. Plaintiffs allege that Sheriff Johnson was “acting within the

scope of his employment” when he directed ACSO deputies to use pepper spray to clear

the courthouse, which is County property. FAC ¶¶ 10, 54–56. ACSO deputies and Sheriff

Johnson followed ACSO policy in clearing the courthouse.              Id. ¶¶ 64–67.    These

allegations are strengthened by the County’s own public documents, which give Sheriff

Johnson the power to grant or deny permits for courthouse gatherings. See Alamance Cty.

Historic    Courthouse    Facility   Reservation     Permit    Application,    available    at


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https://www.alamance-nc.com/sheriff/wp-content/uploads/sites/25/2020/08/Historic-

Courthouse-Permit-Application-Packet.pdf (last accessed Mar. 23, 2021). 3

       Thus, even if the County may not be liable for every law enforcement policy set by

Sheriff Johnson, it should, at a minimum, be liable for Sheriff Johnson’s policies with

respect to the regulation of County property.

       C.     Defendants’ Arguments to the Contrary Are Unavailing and Would
              Leave No Remedy for Unconstitutional Policing Policies.

       Ignoring this authority, Defendants assert that because ACSO is its own legal entity,

Sheriff Johnson cannot be a final policymaker for the County. Defs. Mot. at 10–11. But

the Sheriff’s Office’s separate legal status is immaterial to determining its policymaking

authority. See Hogan v. Cherokee Cty., No. 18-cv-96, 2019 WL 2591089, at *6–*7

(W.D.N.C. Feb. 28, 2019) (rejecting argument that legally distinct department was unable

to bind county for Monell purposes). Rather, the question is whether Sheriff Johnson’s

acts “may fairly be said to represent official policy of the county.” Wilcoxson, 129 F. Supp.

3d at 316. Defendants themselves recognize that the Sheriff’s Office is part of the County’s

organizational structure, possessing the same level of policymaking power as its Board of

Commissioners.      See    Alamance      Cty.     Organizational    Chart,    available    at

https://www.alamance-nc.com/county-government/organizational-chart/ (last accessed

Mar. 23, 2021).    As discussed, Plaintiffs sufficiently pleaded that Sheriff Johnson’s

decisions concerning law enforcement represent County policy.


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 As a public record, this document is judicially noticeable. Phillips v. Pitt Cty. Mem.
Hosp., 572 F.3d 176, 180 (4th Cir. 2009).


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        Defendants also cite Little v. Smith, 114 F. Supp. 2d 437, 442 (W.D.N.C. 2000) to

contend that sheriffs are, as a matter of law, unable to bind the counties they serve. But

Little was decided on a motion for summary judgment, after parties were permitted

discovery into the scope of one particular sheriff’s authority. Id. at 442. Further, to the

extent Little can be read to make a broader pronouncement about municipal liability,

Plaintiffs submit that it was incorrectly decided. 4 The Little court did not address the

complex statutory scheme governing sheriffs’ authority in North Carolina counties. More

fundamentally, to accept its reasoning would create a “nonsensical tautology.” Wilcoxson,

129 F. Supp. at 315. Because sheriffs possess the exclusive authority to make county law

enforcement policy, no other figure could be a policymaker for any county. N.C. Gen.

Stat. § 162-24. And because “a sheriff’s office is not a legal entity capable of being sued

under 42 U.S.C. § 1983,” Fair v. Lincoln Cty., No. 20-cv-27, 2020 WL 2091071, at *2

(W.D.N.C. Apr. 29, 2020), no sheriff’s office could be liable for an unconstitutional policy.

Defendants’ reading would thus leave no remedy for unconstitutional policing policies—

an untenable result.

III.    NO IMMUNITY SHIELDS SHERIFF JOHNSON FROM PLAINTIFFS’
        STATE ASSAULT AND BATTERY CLAIM.

        Plaintiffs allege that ACSO deputies unjustifiably deployed pepper spray during the



4
  Should this Court disagree, Plaintiffs respectfully request leave to amend the FAC to raise
their claims for municipal liability against Sheriff Johnson. See Finch v. Wilson Cty., No.
19-cv-550, 2020 WL 6532828, at *5 (E.D.N.C. Nov. 5, 2020) (allowing amendment to
raise Monell claims against sheriff because complaint “plainly put[] the office of the
[s]heriff on notice of a claim under Monell”).


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March and that Sheriff Johnson, as their employer, is liable under respondeat superior.

FAC ¶ 10. Neither public official immunity nor governmental immunity protect him from

this tortious conduct.

         A. Sheriff Johnson is Not Entitled to Immunity in His Personal Capacity.

       Plaintiffs need only plausibly allege that Defendant Johnson acted outside the scope

of his official authority, with malice, or corruptly, to overcome public official immunity.

Bartley v. City of High Point, 846 S.E.2d 750, 754 (N.C. Ct. App. 2020). The FAC proffers

specific allegations that Sheriff Johnson was informed of his officers’ first misuse of pepper

spray pursuant to ACSO policy, and authorized them to continue their assault and battery

against March participants, including Plaintiffs, also pursuant to ACSO policy. FAC

¶¶ 64–66. Far from being “unspecific and wholly unsupported,” Defs. Mot. at 16, this

conduct is squarely the type for which officers may be individually liable, see, e.g., Roberts

v. Swain, 126 N.C. App. 712, 717 (1997) (denying summary judgement on assault and

battery where issues of fact remained as to whether defendant officers exceeded scope of

duties by pepper spraying plaintiff). That Defendant Johnson was acting in his capacity as

Sheriff is no defense. Plaintiffs allege that Defendant Johnson directed officers in conduct

that was “without justification” and constituted “excessive force”—which, taken as true,

was “outside of and beyond the scope of [their] duties.” Smith v. State, 289 N.C. 303, 331

(1976); accord Lopp v. Anderson, 251 N.C. App. 161, 172 (2016).




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       B.     Sheriff Johnson Has Waived Governmental Immunity in His Official
              Capacity, and Plaintiffs Should Be Permitted to Amend.

       Defendants concede that Sheriff Johnson has purchased insurance, waiving

governmental immunity for claims brought against him in his official capacity. Defs. Mot.

12–14. Yet they seek to dismiss claims against Sheriff Johnson based on Plaintiffs’ failure

to name the surety as a party—the existence of which not disclosed to Plaintiffs until

Defendants’ Motion. Should this Court dismiss the official capacity claims against Sheriff

Johnson on this basis, Plaintiffs would respectfully request leave to amend their complaint

to name the surety as a party. See Hines v. Johnson, No. 19-cv-515, 2021 WL 468972, at

*4 (M.D.N.C. Feb. 9, 2021) (allowing amendment to add sheriff’s surety as a party).

IV.    PLAINTIFFS’        STATE      CONSTITUTIONAL             CLAIMS       ARE     WELL-
       PLEADED.

       The North Carolina Constitution provides a direct cause of action against a state

official for violations of its protections if there is no adequate state law remedy. See Corum

v. Univ. of N. Carolina, 330 N.C. 761, 783 (1992). In determining whether an adequate

state law remedy exists, courts consider whether a plaintiff can sue “for the same injury

alleged in the direct constitutional claim.” Taylor v. Wake Cty., 258 N.C. App. 178, 188

(2018) (quoting Estate of Fennell ex rel. Fennell v. Stephenson, 137 N.C. App. 430, 437

(2000)).

       Defendants’ discharge of pepper spray prevented Plaintiffs from engaging in

expressive, political speech, even preventing some Plaintiffs from registering to vote and

voting. This political silencing cannot be remedied through any other state claims.



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Contrary to Defendants’ assertions, Defs. Mot. at 17, common law assault and battery may

remedy Plaintiffs for their physical injuries, but it provides no remedy for their separate

dignitary harms and emotional distress for lost opportunities to engage in constitutionally

protected speech and peaceful assembly. See Corum, 330 N.C. at 783 (“[O]ur common

law guarantees plaintiff a direct action under the State Constitution for alleged violations

of his constitutional freedom of speech rights.”). Nor can Defendants rely on Plaintiffs’

federal constitutional claims: only an “adequate state remedy” can preclude a direct cause

of action under the state constitution. Id. (emphasis added).

V.     PLAINTIFFS’ FEDERAL CLAIMS ARE ADEQUATELY ALLEGED.

       The FAC amply pleads that Defendants’ conduct violated federal statutes and

constitutional safeguards protecting plaintiffs’ rights to vote, assemble, and be free from

excessive force. Defendants’ cursory contentions about failure to state a claim and

qualified immunity have no merit.

       A.     Plaintiffs Adequately Allege Violation of Section 11(b) of the Voting
              Rights Act.

       Section 11(b) of the Voting Rights Act (“VRA”) prohibits conduct that

“intimidate[s], “threaten[s],” or “coerce[s]” someone who is “voting,” “attempting to

vote,” or “urging or aiding any person to vote or attempt to vote.” 52 U.S.C. § 10307(b).

As its drafters intended, “Section 11(b)’s reach is extensive, in accordance with the VRA’s

ambitious aims of encouraging true enforcement of the Fifteenth Amendment’s promise of

unencumbered access to the vote, regardless of race.”           Nat’l Coal. on Black Civic

Participation v. Wohl (“NCBCP”), No. 20-cv-8668, 2020 WL 6305325, at *12 (S.D.N.Y.


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Oct. 28, 2020).     The FAC pleads a straightforward Section 11(b) violation:             that

Defendants’ use of excessive force on Plaintiffs during the March intimidated them and

prevented them from registering to vote and/or voting. See, e.g., FAC ¶¶ 74, 88, 145.

Defendants’ attempt to dismiss this claim has no merit.

              1.     Defendants’ Alleged Conduct Is Squarely Within the Meaning of
                     “Intimidation” Under Section 11(b).

       As confirmed by decades of precedent, violence against peaceful protestors and

would-be voters—as here—is perhaps the most fundamental form of conduct proscribed

by Section 11(b). See, e.g., NCBCP, 2020 WL 6305325, at *16 (“Conduct that puts others

‘in fear of harassment and interference with their right to vote’ naturally includes egregious

conduct, such as acts of violence.”) (quoting League of United Latin Am. Citizens -

Richmond Region Council 4614 v. Pub. Int. Legal Found. (“LULAC”), 18-cv-423, 2018

WL 3848404, at *4 (E.D. Va. Aug. 13, 2018)). Accordingly, violence against individuals

“participating in a march . . . to protest denial of equal rights” has long constituted

actionable voter intimidation. Katzenbach v. Original Knights of Ku Klux Klan, 250 F.

Supp. 330, 341 (E.D. La. 1965) (applying Section 11(b)’s predecessor statute, 52 U.S.C.

§ 10101(b) (“Section 131(b)”)).

       Defendants ignore this authority, baselessly asserting that “[p]laintiffs . . . cannot

establish that the alleged acts of Defendants were acts of intimidation or attempts to

intimidate or any other acts proscribed in 52 U.S.C. § 10307(b).” Defs. Mot. at 18. But

courts have sustained Section 11(b) claims in less egregious cases than the overt violence

at issue here. See, e.g., LULAC, 2018 WL 3848404, at *4 (denying motion to dismiss


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Section 11(b) claim for report falsely identifying individuals as being fraudulently

registered to vote); NCBCP, 2020 WL 6305325, at *18 (ruling that plaintiffs had shown a

likelihood of success on their Section 11(b) claim challenging robocalls to potential voters

threatening forced vaccinations and other adverse consequences for voting by mail); United

States v. McLeod, 385 F.2d 734, 740–41 (5th Cir. 1967) (applying Section 131(b) to

“baseless arrests and prosecutions” at a voter registration drive).

       Also meritless is Defendants’ unsupported statement that there is “no causal link

between the alleged conduct and the claimed or perceived harms alleged by the Plaintiffs.”

Defs. Mot. at 18. Section 11(b) has no special causality requirement, and requires only

that Plaintiffs “allege . . . that [Defendants’ conduct] put them in fear of harassment and

interference with their right to vote.”      LULAC, 2018 WL 3848404, at *4; accord

Katzenbach, 250 F. Supp. 330 at 353 (explaining that Section 131(b) “may be extended

against interference with any activity having a rational relationship with the federal

political process”).    The FAC plainly meets this standard, alleging, inter alia, that

Defendants “discharged pepper spray” at Plaintiffs who had intended to vote and/or register

to vote after the March, thereby preventing them from doing so and making them “fearful

of attempting to vote on Election Day.” FAC ¶¶ 140, 145. This is more than sufficient to

state a claim.

                 2.    Section 11(b) Has No Intent Requirement—and the FAC Pleads Intent
                       Regardless.

       Defendants also argue that “Plaintiffs cannot show that Defendants intended to

interfere with Plaintiffs’ right to vote.” Defs. Mot. at 18. But Congress expressly drafted


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Section 11(b) to exclude any intent requirement. Its predecessor statute, Section 131(b),

required that conduct be undertaken “for the purpose of interfering with the right to vote.”

52 U.S.C. § 10101(b). By contrast, Section 11(b)—which borrowed much of its language

from Section 131(b)—critically omitted the “for the purpose of” clause or any similar

language. See 52 U.S.C. § 10307(b). The legislative history confirms that this was

intentional: as Attorney General Nicholas Katzenbach testified before Congress, “[u]nlike

[Section 131(b)],” under Section 11(b), “no subjective purpose or intent need be shown.”

H.R. Rep. No. 89-439 at 30 (1965). Instead, “defendants would be deemed to intend the

natural consequences of their acts.” Voting Rights, Part 1: Hearings on S. 1564 Before

the S. Comm. on the Judiciary, 89th Cong. 16 (1965).

       Numerous courts have read, and applied, this statute the same way. See, e.g.,

LULAC, 2018 WL 3848404, at *4 (E.D. Va. Aug. 13, 2018) (“[I]n the absence of plain

statutory text, statutory history, or binding case law to the contrary, the Court does not find

that a showing of specific intent . . . is required under § 11(b).”); Daschle v. Thune, ECF

No. 6, No. 04-civ-4177 (D.S.D. Nov. 1, 2004) (noting that “[w]hether the intimidation was

intended or simply the result of excessive zeal is not the issue [for a Section 11(b) claim]”).

       Instead of acknowledging this authority, Defendants cite just two non-binding cases

that did not directly consider the issue. Olagues v. Ruossoniello, 770 F.2d 791, 804 (9th

Cir. 1985), affirmed the dismissal of the plaintiffs’ Section 131(b) and Section 11(b) claims

because plaintiffs failed to raise a material issue of fact as to whether government officials

did in fact intend to intimidate—but in doing so, did not distinguish Section 11(b) from



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Section 131(b), let alone their differing intent requirements discussed above. Moreover,

Olagues relied wholly on another case (McLeod), which was filed before Section 11(b)’s

enactment and thus dealt exclusively with Section 131(b). See id. (citing McLeod, 385

F.2d at 740–41). Defendants’ invocation of Parson v. Alcorn, 157 F. Supp. 3d 479 (E.D.

Va. 2016), is similarly unavailing. Parson relied on Olagues and McLeod—and rather than

considering the textual differences between Section 11(b) and Section 131(b), cited both

cases as arising under the “predecessor statute” of Section 131(b) alone. 157 F. Supp. 3d

at 498; see LULAC, 2018 WL 3848404, at *4 (“Defendants’ reference to nonbinding case

law that reads specific intent . . . requirements into § 11(b) is also unpersuasive. These

cases trace back to United States v. McLeod, which, in fact, adjudicated claims brought

under [Section 131(b)].”).

       In any event, the FAC amply pleads that Defendants intended their intimidation.

The FAC alleges that “[b]y using pepper spray on Plaintiffs without justification,”

Defendants “intentionally caused bodily contact with Plaintiffs.” FAC ¶ 196. The FAC

also contains allegations that Defendants were on notice about the purposes of the March

before using force. It was a highly publicized “March to the Polls,” id. at 4, ¶ 81 n.5, which

was organized “to encourage people to go to the polls,” id. ¶ 41, took place on North

Carolina’s last day of early voting and voter registration, id. ¶¶ 86–87, and was to culminate

near a polling place so that attendees could register to vote and/or vote, id. ¶¶ 42–43. In

short, while subjective intent is not required under Section 11(b), the facts alleged more

than establish such intent.



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       B.     Plaintiffs Adequately Allege First Amendment Retaliation.

       Plaintiffs need allege only three elements to state a First Amendment retaliation

claim: (1) they participated in protected First Amendment activity; (2) Defendants took

adverse action; and (3) a causal relationship exists between the protected activity and

Defendants’ conduct. Martin v. Duffy, 858 F.3d 239, 249 (4th Cir. 2017). Defendants do

not dispute that Plaintiffs’ peaceful marching constituted protected activity, nor do they

contest that the use of pepper spray constitutes “adverse action” under this Circuit’s law.

See Defs. Mot. at 19–20. Rather, Defendants argue only that there is an insufficient causal

relationship between Plaintiffs’ protected political speech and Defendants’ decision to

pepper spray them. Id. That argument is unfounded.

       Courts may “infer causation based on the facts,” including temporal proximity

between the protected conduct and adverse action was. Tobey v. Jones, 706 F.3d 379, 390

(4th Cir. 2013). That Defendants deployed pepper spray minutes after protestors kneeled

to protest police violence supports an inference of causality. FAC ¶ 158. That inference

is strengthened by additional allegations that ACSO deputies cleared white supremacist

counter-protesters from the area without force, even though they were engaged in the same

type of activity, but espousing a different message. Id. ¶¶ 51–53.

       Defendants overstate the burden required to allege a claim for First Amendment

retaliation. Relying on Nieves v. Bartlett, 139 S. Ct. 1715 (2019), Defendants assert that

all First Amendment retaliation claims require showing that the plaintiff’s protected speech

was the only motivation for the adverse action. Defs. Mot. at 19–20. Defendants misread



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Nieves in two ways. First, Nieves established a heightened threshold only for retaliatory

arrest and prosecution claims, which have “causal complexities” not present in this case.

139 S. Ct. at 1722–23. Nieves explained that retaliatory arrest claims require a higher

showing because when an officer makes an arrest, “protected speech is often a ‘wholly

legitimate consideration.’” Id. at 1724 (internal quotation omitted). This heightened

standard has no applicability to a retaliatory use of force claim as here. See Freed v.

Herndon, No. 19-cv-599, 2020 WL 5816497, at *7 (D. Md. Sept. 29, 2020).

       Second, Nieves provides that the heightened standard for retaliatory arrest claims

does not apply where a plaintiff presents “objective evidence” that she was the target of

retaliatory action when “otherwise similarly situated individuals not engaged in the same

sort of protected speech” were not targeted. 139 S. Ct. at 1727. Again, that is exactly what

Plaintiffs have alleged. FAC ¶¶ 51–53.

       C.      Plaintiffs Adequately Allege Fourth Amendment Excessive Force.

       Excessive force claims turn on whether a use of force was reasonable in light of the

totality of the circumstances, including “‘the severity of the crime at issue,’ whether the

‘suspect poses an immediate threat to the safety of the officers or others,’ and whether the

suspect ‘is actively resisting arrest or attempting to evade arrest by flight.” Jones v.

Buchanan, 325 F.3d 520, 527 (4th Cir. 2003) (quoting Graham v. Connor, 490 U.S. 386,

396 (1989)). Defendants neither identify any deficiencies in Plaintiffs’ allegations, nor

contend that any factor weighs against Plaintiffs. See Defs. Mot. at 20–21. Indeed, all

three factors weigh in Plaintiffs’ favor.



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       For all of the Plaintiffs, no crime was at issue at the time of any pepper spraying.

Only one Plaintiff, Olivia Davis, was charged with a misdemeanor after the third round of

pepper spray (based on her “question[ing]” of officers who attempted to move her and her

partner out of the road despite her explanation that “they were just trying to get away from

the pepper spray”). FAC ¶¶ 114–15, 118. This factor thus “clearly weigh[s]” in Plaintiffs’

favor. Jones, 325 F.3d at 528 (use of force against someone not suspected of or charged

with crime, or only suspected of “a minor one,” constituted excessive force).

       Further, no Plaintiff was violent, threatened violence, attempted to “evade arrest by

flight,” or otherwise posed any danger to anyone. FAC ¶¶ 48, 117; see generally id. ¶¶ 98–

129. Again, these factors weigh in Plaintiffs’ favor and suffice to state a claim.

       D.     Plaintiffs Adequately Allege Violation of Section 1985(3) of the KKK Act.

       The FAC also adequately alleges a violation of Section 1985(3) of the KKK Act,

which provides a cause of action “if two or more persons conspire to prevent by force,

intimidation, or threat, any citizen who is lawfully entitled to vote” from voting. 42 U.S.C.

§ 1985(3).   Defendants contend that Plaintiffs fail to adequately allege an express

agreement. Defs. Mot. at 21–22. But again, Defendants ignore the FAC, which contains

numerous allegations regarding the agreement between Sheriff Johnson, ACSO deputies,

and GPD officers to use pepper spray and prevent Plaintiffs from registering to vote and/or

voting. See, e.g., FAC ¶¶ 60 (“GPD police officers and ACSO deputies . . . were

communicating with each other to coordinate a plan for dispersing the crowd.”), id. ¶¶ 64–

67 (alleging that Sheriff Johnson was made aware of situation and directed the further use



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of pepper spray), id. ¶ 70 (“GPD and ACSO officers . . . communicated with each other

and decided to use pepper spray again.”), id. ¶ 189 (alleging that pepper spray and

communications with senior officials were part of larger coordinated plan).

       E.     Qualified Immunity Is Unavailable.

       “Ordinarily, the question of qualified immunity should be decided at the summary

judgment stage.” Willingham v. Crooke, 412 F.3d 553, 558 (4th Cir. 2005). Qualified

immunity is inappropriate where its resolution “turn[s] on disputed facts.” Raub v. Bowe,

960 F. Supp. 2d 602, 608 n.8 (E.D. Va. 2013). For this reason alone, Defendants’ efforts

to invoke qualified immunity at this stage should be rejected.

       Even if qualified immunity were not premature, the defense would fail. Since at

least 2012, it has been clearly established pepper spraying peaceful and compliant

protestors violates the Fourth Amendment, Ewing, 481 F. App’x 802, 803 (4th Cir. 2012)

rendering qualified immunity inappropriate. See, e.g.¸ Cooper v. Nichols, No. 17-cv-466,

2019 WL 418856, at *4 (E.D. Va. Feb. 1, 2019) (denying qualified immunity to officer

who allegedly used OC spray on peaceful inmate). It is likewise clearly established that

officers who exercise their authority in retaliation for protected conduct violate the First

Amendment. Tobey, 706 F.3d at 389 (denying qualified immunity to officers who arrested

plaintiff in retaliation for peaceful protest). District courts thus regularly deny qualified

immunity where officers exercised their authority at least partially because of plaintiffs’

protected conduct. See Raub, 960 F. Supp. 2d at 614; Lowe v. Spears, No. 06-cv-0647,

2007 WL 9718279, at *5 (S.D. W.Va. May 4, 2007).



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       Defendants also contend, without any authority, “that qualified immunity applies to

Plaintiff’s [sic] claims brought pursuant to 52 U.S.C. § 10307 and 42 U.S.C. § 1985(3).”

Defs. Mot. at 22. The Court should reject this unfounded argument: qualified immunity

is a doctrine specific to the text of 42 U.S.C. § 1983, and thus has no applicability to these

other statutory claims.

VI.    PLAINTIFFS ADEQUATELY PLEADED THEIR PUNITIVE DAMAGES
       REQUEST.

       Plaintiffs do not bring a standalone claim for punitive damages; Defendants’ motion

to dismiss Plaintiffs’ request for punitive damages should be denied on this basis alone.

See, e.g., Davis v. G. Allen Equip. Corp., No. 20-cv-49, 2020 WL 4451169, at *2 (E.D.N.C.

Aug. 3, 2020) (“Because the Court does not consider plaintiff’s request for punitive

damages to be a separate cause of action, dismissal is not warranted at this time[.]”).

       In any event, Plaintiffs have adequately pleaded “egregious and wrongful acts” that

would support punitive damages against Sheriff Johnson and Alamance County deputy

sheriffs. N.C. Gen. Stat. § 1D-1. It is “well established that a defendant may be liable for

punitive damages where his conduct reaches a level higher than mere negligence and

amounts to willful, wanton, malicious, or reckless indifference to foreseeable

consequences.” Thompson v. Town of Dallas, 142 N.C. App. 651, 656 (2001) (citation

omitted); accord Quarles v. Weeks, No. 16-cv-304, 2017 WL 9513018, at *7 (W.D.N.C.

July 6, 2017) (sustaining punitive damages request based on allegations that defendant

“acted with intentional disregard to Plaintiff’s Fourth Amendment rights, which Defendant

knew or should have known would result in injury”).


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       Plaintiffs allege that Defendants discharged pepper spray—three separate times—

“indiscriminately into a crowd of peaceful marchers” that included children as young as

three, elderly individuals, and individuals with disabilities, causing significant injuries. Id.

¶¶ 62, 130. They allege Defendants provided inadequate warning, then prevented medical

professionals from assisting those injured. Id. ¶¶ 62, 79. These allegations are plainly

sufficient to show, at a minimum, reckless disregard for the injuries Defendants caused.




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                                    CONCLUSION

      For the foregoing reasons, Plaintiffs respectfully request that Defendants’ Motion

for Judgment on the Pleadings be denied in full.

Dated: March 23, 2021                         Respectfully submitted,

/s/ Marianne Spencer                          /s/ Geraldine Sumter
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                          CERTIFICATE OF WORD COUNT

       The undersigned hereby certifies that the foregoing document complies with the

word count limitations of L.R. 7.3(d)(1). This document contains 6,168 words excluding

the cover page, caption, signature lines, certificates of service and word count, and indices.



Dated: March 23, 2021                                /s/ Geraldine Sumter
                                                     Geraldine Sumter

                                                     Attorney for Allen Plaintiffs




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                             CERTIFICATE OF SERVICE

       I certify that on March 23, 2021, I caused the foregoing ALLEN PLAINTIFFS’

MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANTS ALAMANCE

COUNTY AND TERRY S. JOHNSON’S MOTION FOR JUDGMENT ON THE

PLEADINGS (DKT. NO. 51) to be filed with the Clerk of the Court using the CM/ECF

system, which will send notification of such filing to all counsel and parties of record.



Dated: March 23, 2021                                /s/ Geraldine Sumter
                                                     Geraldine Sumter

                                                     Attorney for Allen Plaintiffs




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